Case 2:18-cr-00004-LGW-BWC Document 117 Filed 09/27/18 Page 1 of 4



                         UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


 UNITED STATES OF AMERICA,                     *
                                               * CASE NO.: CR 218-4
 v.                                            *
                                               *
 JOYCE A. IVERSON,                             *
      Defendant                                *


                            MOTION TO CONTINUE SENTENCING

          COMES NOW, the defendant, JOYCE A. IVERSON, and through her counsel files this

 her Motion to Continue Sentencing and show this Honorable Court the following:

                                                 1.

          The defendant pled guilty to Count 8 of the indictment, Making False Statements During

 Purchase of a Firearm, on April 26, 2018.

                                                 2.

          The defendant is scheduled to be sentenced on September 28, 2018 before this Honorable

 Court.

                                                 3.

          The defendant through her counsel needs additional time to resolve for sentencing issues

 and defendant Iverson’s testimony is needed to complete her cooperation obligations in co-

 defendant’s sentencing scheduled at the end of October.

                                                 4.

          The government does not oppose this motion.
Case 2:18-cr-00004-LGW-BWC Document 117 Filed 09/27/18 Page 2 of 4



                                                  5.

         This motion is filed in the interest of justice and necessary for a fair adjudication of the

 case.

         WHEREFORE, defense counsel respectfully requests this sentencing matter be continued

 until further order of this Court.

         Respectfully submitted this 27th day of September, 2018.



                                                       /s Ronald E. Harrison II
                                                       Ronald E. Harrison II
                                                       Attorney for Defendant
                                                       Ga. Bar No. 333270
 The Harrison Firm
 1621 Reynolds Street
 Brunswick, Georgia 31520
 (912) 264-3035
Case 2:18-cr-00004-LGW-BWC Document 117 Filed 09/27/18 Page 3 of 4



                        UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION


 UNITED STATES OF AMERICA,                    *
                                              * CASE NO.: CR 218-4
 v.                                           *
                                              *
 JOYCE A. IVERSON,                            *
      Defendant                               *


                             CERTIFICATE OF SERVICE
        This is to certify that I have this day delivered by email in accordance with the directives

 from the Court Notice of Electronic Filing the Motion to Continue Sentencing in the above-

 captioned case to:


                       Greg Gilluly, Jr.
                       Assistant United States Attorney
                       United States District Court
                       P.O. Box 8970
                       Savannah, GA 31412


        This 27th day of September, 2018.


                                                      Respectfully Submitted,


                                                      /s Ronald E. Harrison II
                                                      Ronald E. Harrison II
                                                      Georgia Bar No. 333270
                                                      Attorney for Defendant
 The Harrison Firm
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Case 2:18-cr-00004-LGW-BWC Document 117 Filed 09/27/18 Page 4 of 4



                         UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


 UNITED STATES OF AMERICA,                   *
                                             * CASE NO.: CR 218-4
 v.                                          *
                                             *
 JOYCE A. IVERSON,                           *
      Defendant                              *


                                           ORDER
          The defendant’s Motion to Continue having been read and considered;



          IT IS HEREBY ORDERED that the sentencing be continued until further order of this

 Court.



          SO ORDERED this      day of                      , 2018.




                                                    Judge, United States District Court
                                                    Southern District of Georgia
                                                    Brunswick Division
